{¶ 38} I respectfully disagree with the majority analysis that there does not exist a genuine issue of material fact concerning the rear window leak. I would find the affidavit of Paul Pierce, filed with the summary judgment on May 31, 2001, raises issues of fact concerning whether the water seepage experienced with the rear window was in fact a defect and whether it substantially impaired the use of the vehicle. As he stated in paragragh 5:
  {¶ 39} "5. I am aware that the Lesjaks were dissatisfied with the window compartments in said motor home, and have made a number of complaints regarding water seepage through these window compartments. The Lesjaks brought their motor home to Forest River in October 1998, April 2000 and June 2000 for an inspection, repair and/or to replace windows. While the condition of which Lesjaks complained was not able to be duplicated by Forest River, due diligence was exercised by replacing windows or by providing greater waterproofing to these window compartments. The design of the windows themselves include a `weephole,' which allows water to escape from the coach to the outside when accumulating in the slide track of the window casement. It is unknown whether the water seepage into the windows' slidetrack is the nature of the Lesjaks' complaints, or whether other unknown causes created the condition of which they complained."
  {¶ 40} I would reverse for trial.